
USCA1 Opinion

	










          February 22, 1996     [NOT FOR PUBLICATION]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 95-1593

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  SUSAN DELVECCHIO,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Susan K.  Howards, by appointment of  the court,  with whom Pamela
            _________________                                           ______
        Harris-Daley and Launie &amp; Howards, P.A. were on brief, for appellant.
        ____________     ______________________
            Margaret E.  Curran, Assistant United  States Attorney, with  whom
            ___________________
        Sheldon  Whitehouse, United  States  Attorney,  and Zechariah  Chafee,
        ___________________                                 _________________
        Assistant  United  States Attorney,  were  on  brief, for  the  United
        States.

                                 ____________________


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                      Per Curiam.  Defendant Susan  DelVecchio brings two
                      Per Curiam.

            challenges  to her sentence, one  of which this  court has no

            jurisdiction  to entertain,  the other  of which  was waived.

            Defendant  was  sentenced to  46  months  imprisonment to  be

            followed  by  three years  of  supervised  release after  she

            pleaded  guilty to  three charges  of cocaine  possession and

            distribution.

                      DelVecchio's first  challenge  is to  the  district

            court's failure  to grant her  a downward departure  based on

            assertedly unusual circumstances -- including her history  of

            depression,  a  suicide attempt,  sexual  abuse  by a  family

            friend  and  physical  and  emotional  abuse  by  her  former

            husbands.   DelVecchio  argues these  circumstances took  her

            case  outside of  the  "heartland" of  cases  covered by  the

            Sentencing Guidelines, see United  States v. Rivera, 994 F.2d
                                   ___ ______________    ______

            942  (1st Cir.  1993), and  that the  district court  was not

            fully aware of its ability  to make a discretionary  downward

            departure based on these circumstances.  However, it is clear

            from  the  record that  the  experienced  district court  did

            indeed understand  its authority  to depart downward.   After

            hearing  defense  counsel's  argument regarding  Rivera,  the
                                                             ______

            district court stated, "I  don't see any facts in  here which

            would  justify me to  go below the  guideline range. .  . . I

            have the authority,  of course . . . ."   The court concluded

            that it did not "find the facts and circumstances which would



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            warrant" a downward departure.   It is settled law  that this

            court  does  not have  jurisdiction  to  review the  district

            court's refusal  to exercise its  discretionary authority  to

            grant a downward departure.  E.g., United States v. Lewis, 40
                                         ____  _____________    _____

            F.3d 1325, 1345 (1st Cir. 1994).

                      Defendant also raises several arguments surrounding

            the  government's  decision  not   to  move  for  a  downward

            departure  pursuant to U.S.S.G.    5K1.1 (Nov.  1994).  Under

            the terms of her plea agreement, the government had agreed to

            consider  filing  such a  motion  if  the defendant  provided

            substantial assistance in the "investigation  and prosecution

            of another person."  The decision whether to file the motion,

            it  was  agreed, was  in  the discretion  of  the government.

            Because   the  government  determined   that  the  assistance

            DelVecchio did provide was "unavailing"  and not substantial,

            it declined to file the motion.

                      DelVecchio now argues, among other points, that the

            government's refusal to file  the motion and its drafting  of

            the agreement were done in "bad faith" allegedly in violation

            of law and that the district court erred in refusing to grant

            a downward departure.   The fatal flaw in these  arguments is

            that  the  defendant failed  to  raise them  in  the district

            court,  and we  decline to  entertain them  now.   See, e.g.,
                                                               ___  ____

            United States  v. Carvell, ___  F.3d ___,  ___, No.  95-1606,
            _____________     _______

            slip op. at 15 (1st Cir. Jan. 19, 1996) ("[I]ssues not raised



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            below  will not  be heard  on appeal  unless there  was plain

            error.").   Moreover, in  addition to failing  to raise these

            arguments  below, DelVecchio  now  points to  nothing in  the

            record outside  the plea agreement itself  as even indicating

            bad  faith  or   motive  on  the  part   of  the  government.

            Accordingly,  we  believe  that   DelVecchio  has  failed  to

            establish any  error sufficiently obvious and  substantial to

            survive "plain error" review.

                      Affirmed.
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